 Case 2:19-cv-20673-KM-ESK Document 9 Filed 02/11/20 Page 1 of 2 PageID: 46



Thomas J. Cotton, Esq.
SCHENCK, PRICE, SMITH & KING, LLP
220 Park Avenue, P.O. Box 991
Florham Park, New Jersey 07932-0991
(973) 539-1000
Attorneys for Defendant,
Pro Custom Solar LLC d/b/a Momentum Solar

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


STEWART SMITH and BRENNAN                                      CIVIL ACTION
LANDY, individually and on behalf of all
others similarly situated,                                    No. 2:19-cv-20673

Plaintiffs,                                       NOTICE OF MOTION TO DISMISS
                                                PLAINTIFFS’ COMPLAINT OR, IN THE
v.                                               ALTERNATIVE, TO STAY THE CASE

PRO CUSTOM SOLAR LLC d/b/a                                Oral Argument Requested
MOMENTUM SOLAR,
                                                        Motion Date: March 16, 2020
Defendant.


To:    Ari Marcus, Esq.
       Marcus & Zelman, LLC
       701 Cookman Avenue, Suite 300
       Asbury Park, New Jersey 07712
       Email: ari@marcuszelman.com
       Attorneys for Plaintiff

        PLEASE TAKE NOTICE that on March 16, 2020, at 9:00 am or as soon thereafter as
counsel may be heard, the undersigned attorneys for defendant Pro Custom Solar LLC d/b/a
Momentum Solar (“Defendant”) will apply to the above-named Court at the Martin Luther King
Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey 07101, for an order
dismissing plaintiffs’ complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) and/or
12(c); or, in the alternative, staying this case; and for such other relief as this Court deems just
and proper.

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendant will rely
upon its brief. A proposed form of order is submitted herewith for the Court’s consideration.

Dated: Florham Park, New Jersey
       February 11, 2020
                                              SCHENCK, PRICE, SMITH & KING, LLP
Case 2:19-cv-20673-KM-ESK Document 9 Filed 02/11/20 Page 2 of 2 PageID: 47




                                  By:   s/ Thomas J. Cotton
                                        Thomas J. Cotton

                                  220 Park Avenue, P.O. Box 991
                                  Florham Park, NJ 07932-0991
                                  Telephone: (973) 539-1000
                                  Fax: (973) 540-7300

                                  tjc@spsk.com

                                  Attorneys for Defendant,
                                  Pro Custom Solar LLC d/b/a Momentum Solar
